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                                                                                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                                                            Central District of California
                                                                   6    [Proposed] Counsel to Bradley D. Sharp, Chapter 11                  BY francis DEPUTY CLERK
                                                                        Trustee
                                                                   7
                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11    In re:                                              Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    LESLIE KLEIN,
                                                                                                                            Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                    Debtor.
                                           ATTORNEYS AT LAW




                                                                                                                            ORDER APPROVING CHAPTER 11
                                                                  14                                                        TRUSTEE’S APPLICATION TO (A)
                                                                                                                            EMPLOY COLDWELL BANKER
                                                                  15                                                        REALTY AS REAL ESTATE BROKER
                                                                                                                            AND (B) ENTER INTO EXCLUSIVE
                                                                  16                                                        LISTING AGREEMENTS

                                                                  17                                                        [161 N. Poinsettia Place, Los Angeles, CA
                                                                                                                            90036; 143 S. Highland Avenue, Los Angeles,
                                                                  18                                                        CA 90036; 315 N. Martel Avenue, Los
                                                                                                                            Angeles, CA 90036]
                                                                  19
                                                                                                                            [Relates to Docket Nos. 234 and 235]
                                                                  20
                                                                                                                            [No Hearing Required]
                                                                  21
                                                                  22             This Court, having considered the application (the “Application”) of Bradley D. Sharp, the

                                                                  23   duly appointed, authorized and acting chapter 11 trustee (the “Trustee”) in the above-captioned

                                                                  24   bankruptcy case of Leslie Klein (the “Debtor”), to (a) employ Coldwell Banker Realty as real estate

                                                                  25   broker (the “Broker”) and (b) enter into exclusive listing agreements, and the statements of

                                                                  26   disinterestedness of Jessica Heredia, Steve Flores, and William Friedman filed in support thereof,

                                                                  27   and the Court finding that due and sufficient notice of the Application has been given, and based

                                                                  28   upon the record before the Court, it appears that the Broker does not hold or represent an interest


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                                                                   1   adverse to the Debtor or the estate (the “Estate”), that the Broker is “disinterested”, that its

                                                                   2   employment is in the best interest of the Estate, there being no objections to or requests for hearing

                                                                   3   on the Application, and that no hearing on the Application is required pursuant to the Local

                                                                   4   Bankruptcy Rules, it is hereby:

                                                                   5           ORDERED that the Chapter 11 Trustee is authorized to (a) employ Coldwell Banker Realty

                                                                   6   as real estate broker and (b) enter into the exclusive listing agreements attached respectively as

                                                                   7   Exhibits 1 -3 to the Application, on the terms and conditions set forth therein; and

                                                                   8           ORDERED that Coldwell Banker Realty shall be entitled to receive compensation in

                                                                   9   accordance with the terms of the listing agreements and shall not be required to file further

                                                                  10   application to the Court with respect to same.

                                                                  11           .
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                         Date: August 22, 2023
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